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                              UNITED STATES DISTRICT COURT
                          IN THE WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


DANIEL WILLIAM RUDD,
                                                      Case No. 1:18-cv-124
             Plaintiff,
                                                      Honorable Gordon J. Quist
v.                                                    U.S. District Court Judge

CITY OF NORTON SHORES, GARY NELUND,
MARK MEYERS, DANIEL SHAW, MATTHEW
RHYNDRESS, MICHAEL WASILEWSKI, JON
GALE, CHRIS MCINTIRE, MELISSA MEYERS,
MICHELLE MCLEAN, JOEL BAAR, DOUGLAS
HUGHES, BOLHOUSE, BAAR, & HOFSTEE PC.,
WILLIAMS HUGHES PLLC.

             Defendants.

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                  PLAINTIFF’S BRIEF IN REPSONSE TO
               DEFENDANT MCINTIRE’S MOTION TO DISMISS
         Daniel Rudd (Plaintiff, Pro Se)—Filed 5/31/18—Oral Arguments Requested
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                              Questions Presented:

1) Has Plaintiff adequately stated claims which can survive Rule 12(b)(6) scrutiny?

2) Is Defendant McIntire entitled to immunity?

3) Should this rely upon the factual allegations claims in Def. McIntire’s Affidavit?

4) Are Plaintiff’s claims time-barred by the applicable limitation periods?




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                             Summary of the Proceedings

    The present lawsuit involves a significant number of defendants and a complex

set of interrelated claims. The constitutional violations and tortious actions took

place during distinct periods of time ranging from July of 2013 through February of

2016. F/Lt. Chris McIntire (“McIntire”), is the Commander of the Michigan State

Police Rockford Post, who reports thirty-two years of professional law enforcement

experience and training. (Def. Affidavit, PageID.216).

    Plaintiff primarily alleges that: (1) McIntire played a critical role in an ongoing

scheme to silence Plaintiff and cover up illicit behaviors and constitutional violations

by the other Defendants. (2) McIntire’s participation was deliberate and informed—

McIntire knew his actions were illegal, unethical and breach of the public trust; (3)

McIntire’s deceptive acts and deliberate omissions were corruptly motivated, and

contrary to the public’s interest. Plaintiff seeks damages, declaratory relief,

injunctive relief and costs of the action (PageID.28).

    Although McIntire’s governmental position and influence were critical for

accomplishing the corrupt purposes of the conspiracy, Plaintiff is not suing McIntire

for actions or inactions in his official capacity with Michigan State Police. In his

representations to Plaintiff, McIntire was essentially impersonating a Michigan State

Police   officer   instead   of   acting   as       one.   McIntire   was   meticulous   in

compartmentalizing these actions from his actual duties and obligations. Although

McIntire has only been sued in his individual capacity, the Michigan Attorney

General’s office has appeared on McIntire’s behalf.




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    All Defendants have been served with Plaintiff’s 2/5/18 Complaint, and all

Defendants have filed answers with the exception of F/Lt. McIntire. The present

motion to dismiss (ECF No. 23) seeks dismissal under 12(b)(6) for failing to state a

claim. McIntire asserts that:
      Plaintiff only provides conclusory allegations regarding conspiracy,
      retaliation, malicious prosecution, and abuse of process which fail to
      identify any activity by Defendant Lieutenant McIntire.
(Def. Brief, PageID.197). However, McIntire has not discussed the narrative portions

of Plaintiff’s complaint where descriptions of specific activities are set forth (then

incorporated by reference under the corresponding “Count”). Plaintiff inquired of the

parties regarding the likelihood of concurrence on the filing of a first amended

complaint—stating the intention to provide additional detail and designate specific

claims against specific Defendants with more clarity. McIntire and the Bolhouse

Defendants indicated they would oppose the filing of a first amended complaint.

    McIntire also states, “All the Defendants are left to guess, or try to discover from

Plaintiff’s intermingled general allegations, what each of them allegedly did wrong.”

(PageID.197) However, McIntire has not filed a motion for a more definite statement.

There have been no conferences or pre-trial orders and no discovery has commenced.

    For the reasons stated in this brief, Plaintiff asserts that the present motion to

dismiss under Rule 12(b)(6) primarily asserts factual challenges instead of testing

the legal sufficiency of the factual allegations and inferences which can be reasonably

drawn from Plaintiff’s complaint (as a whole).       Plaintiff has adequately placed

McIntire on notice regarding the nature of the claims he is called upon to defend.

McIntire’s jurisdictional challenges should also be rejected. Plaintiff asks this Court

to deny the motion to dismiss in full and allow for some initial discovery to occur

before further dispositive motions are litigated.


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                             FACTUAL BACKGROUND

    Plaintiff’s complaint begins with a description of interactions with the Norton

Shores Police Department in July of 2013.          These events are described in the

narrative portion of the Plaintiff’s Complaint because they provide context for

Plaintiff’s petitioning activity in 2015 and the retaliatory acts which followed.

Additionally, the events which occurred in 2013 and 2014 serve as the basis for

Plaintiff’s “denial of access to the courts” civil rights claim. To establish such a claim,

a plaintiff must identify an underlying injury which was not fully or properly

remedied by the courts—because of interference or obstruction by the named

defendants. Claims of this nature typically analyze the underlying legal claim or

injury (which is sometimes discussed as a “suit within a suit”) as being “backward

looking” or “forward looking.” See Flagg v. City of Detroit, 715 F.3d 165, 173 (6th Cir.

2013) for a more thorough discussion. As it pertains to McIntire’s liability, the events

described in paragraphs 18-40 of Plaintiff’s Complaint (PageID.5-10) provide context

which is helpful for understanding the motivation behind Plaintiff’s petitioning

activity and the motivation behind McIntire’s sham investigation.

    The official complaint which Plaintiff submitted to the City (“7/20/15 Grievance”,

Ex. A ECF No. 1-1) identified a number of constitutional violations, discriminatory

customs, and corruption within the City government. Police Chief Jon Gale (“Gale”)

discussed these concerns with Plaintiff and then advised that he would arrange for

an independent investigation by the Michigan State Police. However, instead of doing

this, Gale colluded with McIntire to manipulate, deceive (and ultimately intimidate)

Plaintiff. The objective was to obstruct and suppress Plaintiff’s petitioning activity.




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                                     ARGUMENT

     Under Federal Rule of Civil Procedure 8(a)(2), Defendant McIntire is entitled to

a “short and plain statement of the claim showing that the pleader is entitled to

relief.” At this stage, Plaintiff is only required to set forth a “claim to relief that is

plausible on its face,” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic

Corporation v. Twombly, 550 U.S. 544, 555-56, 570 (2007) at 570). The court must

accept all of the plaintiff’s factual allegations as true and construe the complaint in

the light most favorable to the plaintiff. Gunasekera v. Irwin, 551 F.3d 461, 466 (6th

Cir. 2009). On a 12(b)(6) challenge, the court considers these facts in the specific

context of the case, construes them in “the light most favorable to the plaintiffs,” and

draws “all reasonable inferences in their favor.” Jackson v. Sedgwick Claims Mgmt.

Servs., Inc., 731 F.3d 556, 562 (6th Cir. 2013) (en banc).

     Plaintiff is a non-lawyer with no formal legal training and asks this Court to also

afford further consideration to the liberal construction of Plaintiff’s filings as

appropriate for Pro se litigants under Spots v. United States, 429 F.3d 248, 250 (6th

Cir. 2005) and Haines v. Kerner, 404 U.S. 519, 520, 92 S.Ct. 594, 30 L.Ed.2d 652

(1972).

I.     Plaintiff has adequately alleged Defendant McIntire’s active
       participation in an effort to hinder and obstruct Plaintiff’s efforts to
       seek relief from his government.

     On 7/20/15, Plaintiff submitted a written complaint (“7/20/15 Grievance”) to Chief

Gale of the Norton Shores Police Department (Ex. A, ECF No. 1-1). The 7/20/15

Grievance identified a number of constitutional violations, illegal conduct and

corruption within the City government.           The narrative portion of Plaintiff’s

Complaint includes the following excerpts (with emphasis and minor omissions for




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clarity. These allegations form the factual basis for the claims regarding McIntire’s

initial participation in the conspiracy.
     ¶52) Plaintiff submitted an official complaint to Chief Gale …[detailing]
     plaintiff’s concerns regarding the department’s violations of plaintiff’s
     constitutional rights, failure to enforce the law, and retaliatory actions in
     2013. [“7/20/15 Grievance”]
     ¶53) Chief Gale met with plaintiff in his office for approximately an hour
     and fifteen minutes on 7/23/15 to discuss the complaint. [i.e. ECF No.1-1]
         …
         (e) Regarding the portions of plaintiff’s complaint which alleged criminal
         acts (i.e. destruction/concealment of evidence, unauthorized disclosure
         of LEIN information for the PPO litigation, cover-ups, extortion, etc.)
         Chief Gale advised that these matters would need to be independently
         investigated by someone from the Michigan State Police who did not
         “know anybody” from the Norton Shores Police Department. Chief Gale
         offered to make these arrangements to ensure that it would be
         performed objectively.
         …
     ¶56) Also contrary to his representations, Chief Gale did not ever seek a
     referral for an independent investigation by the Michigan State Police.
     Instead, he arranged for a trusted colleague (F/Lt. Chris McIntire) to contact
     plaintiff and go through the motions of “investigating” the complaint without
     any documentation or scrutiny.
(PageID.12-14). This court can plausibly infer that Defendant McIntire was an

essential element for orchestrating the sham investigation which was to occur instead

of the independent investigation which City policy called for. Chief Gale “arranged”

(i.e. conspired) for McIntire, “a trusted colleague,” to give the appearance that he was

handling the investigation as a Michigan State Police Officer. Chief Gale needed

someone to convincingly “go through the motions” of an investigation (i.e. an actual

MSP Officer)—however this needed to be a “trusted colleague” so that there would be

no “documentation or scrutiny.” Standard documentation and actual scrutiny would

compromise the City’s efforts to conceal misconduct and corruption.

    The arrangement described in paragraph 56 inherently alleges specific

affirmative acts by McIntire. Chief Gale needed an officer who could persuasively


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manipulate Plaintiff and gain his trust. It was essential that McIntire succeed in

convincing Plaintiff that a thorough and impartial investigation was already in

progress. McIntire extended substantial effort to accomplish this very purpose.

Contrary to McIntire’s recent claims that he had only “minor contact” with Plaintiff,

McIntire conducted at least two lengthy phone calls with Plaintiff where McIntire

described the specific investigatory steps which he was taking and would be taking.

Discovery will establish that McIntire really did “go through the motions of

‘investigating’ the complaint” as plaintiff has alleged in ¶56. The fact that McIntire

did this “without any documentation or scrutiny” appears to be uncontested.

    Paragraph 55 alleges that Chief Gale immediately circulated Plaintiff’s written

complaint among the officers and civilians who had been accused of corruption and

misconduct, thereby precluding “any opportunity for a meaningful investigation to

occur.” (PageID.14) Chief Gale knew these actions would be uncovered—giving the

appearance of corruption—if an unbiased and independent officer conducted the

outside investigation which was required. A similar problem related to Plaintiff’s

concerns regarding misuse of City’s access to the LEIN and a culture which tolerated

disclosure of that LEIN information for corrupt purposes. A Michigan State Police

Officer would be obligated to report the existence of these concerns to LEIN Field

services (who would likely conduct their own investigation).

    McIntire’s position of authority allowed him to eliminate the paper trial. In doing

so, McIntire also eliminated the possibility that another officer would review his

handling of the matter by “signing off” on investigatory reports or findings. Chief Gale

directed the “investigation” to McIntire in order to neutralize policies and practices

which exist to ensure transparency, impartiality, accountability and consistency in

the investigatory process.


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    These are some of the inferences which arise regarding one phase of the

conspiracy which involves Defendant McIntire. Subsequent portions of Plaintiff’s

complaint describe additional acts and omissions in furtherance of conspiracy

objectives.

    The short, plain statements in Plaintiff’s Complaint do not offer all the details

how McIntire went “through the motions.” That level of specificity is not required at

the pleading stage. Plaintiff has offered “enough facts to state a claim to relief that is

plausible on its face.” Twombly, at 570. “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S.

662, 678, 129 S. Ct. 1937, 1949. In section III of this brief, Plaintiff will discuss the

portions of Plaintiff’s complaint which allege that McIntire knowingly and

deliberately participated in the concerted effort to deceive Plaintiff, obstruct

plaintiff’s access to legal remedies, and (later) to retaliate against Plaintiff.

    Accepting Plaintiff’s allegations as true, McIntire has been sufficiently placed on

notice regarding the accusations against him. Discovery is likely to reveal evidence

establishing a greater level of detail. The plausibility standard “does not impose a

probability requirement at the pleading stage; it simply calls for enough facts to raise

a reasonable expectation that discovery will reveal evidence of illegal [conduct].”

Twombly, 550 U.S. at 556.




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II.     Plaintiff has also adequately alleged McIntire’s willing collusion in
        the subsequent efforts to suppress Plaintiff’s complaints and
        obstruct Plaintiff’s access to declaratory relief.

      As described in ¶84 (PageID.19), Plaintiff filed for declaratory relief in the state

court—requesting, among other things, an order directing the City to remove the

improperly modified LEIN entry which authorized Norton Shore Police Officers to

arrest Plaintiff without warrant. The Bolhouse Defendants and Def. Melissa Meyers

responded with a flurry of frivolous claims against Plaintiff.                   These filings

overwhelming demonstrate the shared objective to suppress Plaintiff’s complaints

against the City, Mark Meyers, and Melissa Meyers.

      Def. McLean asked the court to initiate criminal contempt proceedings against

Plaintiff, seeking 30 days of incarceration and around $5000 in fines and costs. (¶86,

PageID.19) She also scheduled a hearing on the matter during the same fifteen

minute block which Plaintiff had scheduled for his hearing on declaratory relief (¶87).

In paragraphs 88-102, Plaintiff’s Complaint incorporates substantial documentary

evidence (correspondence) in setting forth the some of the details of a collective effort

to intimidate Plaintiff and extort his silence (PageID.20-24).

      A. Intimidating Correspondence matches timing of order authorizing
         criminal contempt proceedings against Plaintiff.

      Although Plaintiff has had no opportunity for discovery, the Complaint sets forth

compelling circumstantial evidence of a conspiracy. The court can infer much from

the sequence, timing and phrasing of the correspondence sent to Plaintiff by

Defendant Doug Hughes.1 (PageID.20):




1
 The City does not contest the accuracy of Plaintiff’s claims regarding the correspondence
described in ¶¶88-92. However, the City asserts that an ordinary person would not find this
correspondence to be threatening. (Def. Answer, PageID.88-89)

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      ¶88) Plaintiff received Judge Pittman’s order [authorizing] criminal contempt
      proceedings on 11/5/15. On the same day, Attorney Douglas Hughes and his staff
      began sending plaintiff numerous copies of a threatening letter (emphasis added):

      RE: Mark Meyers
      Dear Mr. Rudd
        This office represents the City of Norton Shores. Their Mayor has asked us to monitor
      your conduct and behavior as it relates to the employment of Mark Meyers as the City
      Administrator for the City of Norton Shores.
        We have information that leads us to believe that you have made serious defamatory and
      disparaging remarks about Mr. Meyers, as well as other members of the Norton Shores
      Police Department.
        Please treat this letter as notice to you that we will take whatever action is legally
      necessary to protect the professional and privacy rights of Mr. Meyers.
      You are to cease and desist from any further contact or conversation with him.
        Also be mindful that the statements you make to others about Mr. Meyers. [sic]
      If you have had hired legal counsel, please make a copy of this letter and give it to that
      individual and instruct him to contact me.
      Sincerely, Douglas M. Hughes, City Attorney for the City of Norton Shores

    The specific reference to “information that leads us to believe you have made

serious defamatory and disparaging remarks…” indicates that the City is describing

an external source of information. Other than complaints made directly to Chief Gale

and confidential conversations with Plaintiff’s lawyer, F/Lt. McIntire is the only

person whom Plaintiff had made a report to. After seeing F/Lt. McIntire appear at

the contempt proceedings a few days after receiving this letter, it would be reasonable

for Plaintiff to assume that McIntire had promptly reported back to Norton Shores

after each of his communications with Plaintiff. Hughes had emphasized that the

City will “take whatever action is legally necessary to protect the professional and

privacy rights of Mr. Meyers” and directs Plaintiff to be “mindful” of “statements you

make to others about Mr. Meyers.”

    This foreshadowing was conveyed to plaintiff in perfect coordination with

initiation of the criminal contempt proceedings (and the corresponding efforts to

extort an agreement whereby Plaintiff would abandon all claims against Mark

Meyers and the City).



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   B. Extortionate Settlement Conference before “arraignment” :

    Paragraphs 93-100 of Plaintiff’s Complaint (PageID.21-22) describe the threats

made by Defendant Joel Baar (“Baar”) and Defendant Michelle McLean (“McLean”)

in a meeting just prior to the 11/9/15 criminal contempt hearing.        Baar & Mclean

repeatedly pressed Plaintiff for an agreement wherein Plaintiff would drop all claims

against Norton Shores, Mark Meyers, and Melissa Meyers.                Baar and McLean

advised Plaintiff that he was about to experience the equivalent of a criminal

arraignment before a very unpredictable probate judge. They suggested a substantial

possibility of Plaintiff going straight to jail (¶98, ¶99). They clearly conveyed that

Chief Gale and F/Lt. McIntire were coming to testify that Plaintiff had repeatedly

submitted false reports of criminal activity against Mark & Melissa Meyers.

   C. Conspiracy to obstruct meaningful access to the courts.

    As described in paragraphs 93-102 of Plaintiff’s complaint (PageID.21-23), this

phase of the conspiracy only required McIntire’s presence in order to: (1) make

Plaintiff believe that he might be incarcerated based upon false testimony from a

source the probate court would certainly find credible; (2) sit together in court so the

Judge would be likely to infer that these high ranking law enforcement officials

(prominent in the local community) had taken time from their busy schedules to

testify in support of the allegations raised by Defendant Michelle Mclean—calling for

Plaintiff’s incarceration and substantial restraints on his liberty.

    Plaintiff is not alleging that McIntire is liable because he directly “initiated legal

action” against Plaintiff. McIntire leveraged his unique abilities (afforded by state

law) to forward the common objectives of conspiracy. By this point McIntire had his

own reasons to send Plaintiff a strong message. He only needed to influence the

judge’s belief that McIntire had important testimony to offer. This would prolong the


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duration of the criminal contempt proceeding and enhance the chilling effect on

Plaintiff’s resolve. (¶102, PageID.22-23.) If McIntire had actually testified (even

falsely), the testimony itself would not be actionable in a lawsuit. However, Plaintiff

would have had the opportunity to refute the false testimony with his own evidence.

    For similar reasons, McIntire’s appearance subject to subpoena does not settle

the question of McIntire’s willing partition in a conspiracy. While McIntire claims

that his participation was “not of his own volition”, these claims may not be

considered on a Rule 12 challenge. Plaintiff claims McIntire’s acts were retaliatory

in nature. Where such motivations exist, even actions which would ordinarily be

lawful, are capable of violating constitutional rights. “[A]n act taken in retaliation for

the exercise of a constitutionally protected right is actionable under §1983 even if the

act, when taken for a different reason, would have been proper." Bloch v. Ribar, 156

F.3d 673, 681-82 (6th Cir. 1998) (internal citation omitted).

   D. McIntire’s affidavit lacks credibility and probative value.

    Instead of specifically addressing the legal sufficiency of the Plaintiff’s claims,

McIntire offers alternative explanations for his participation in the criminal

contempt proceedings.      Although not specifically stated in his sworn affidavit,

McIntire’s brief claims that McIntire was “not there of his own volition.” This claim

would be more credible if McIntire had attempted to convey this to Plaintiff while the

criminal contempt proceedings were pending.          McIntire knew from his lengthy

conversations with Plaintiff that the various schemes to have Plaintiff incarcerated

created powerful anxiety and fear. McIntire knew that this was unjust and had the

power to alleviate this burden. However, McIntire never offered these type of




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assurances during the time when Plaintiff was most likely to feel intimidated.

Calculated omissions in McIntire’s affidavit emphasize this contradiction:
      The next communication I had with the Plaintiff occurred on November
      17, 2015, when Plaintiff e-mailed me to see if I had been present at the
      Muskegon County Courthouse on Monday, November 9, 2015.

      I replied to Plaintiff’s e-mailed inquiry and informed Plaintiff that I had
      been present subject to a subpoena from Ms. Meyers’ attorneys.
      (PageID.216, ¶8, emphasis added)
McIntire conveys that he received a singular question (“where you present?”) and

then went out of his way to assure Plaintiff that is presence was involuntary. Plaintiff

had actually sent a more specific inquiry regarding the criminal contempt hearing:
      Rudd: Where you sitting by Mark Meyers and Chief Gale at the
      hearing before Judge Pittman at the Muskegon County Courthouse
      last Monday (11/9)?”
      McIntire: Yes. [this is the full message]
McIntire has misrepresented the question and the answer. The reply (singular)

which McIntire sent, did not inform Plaintiff that he “had been present subject to a

subpoena.” He could have offered that information but he did not. There is no reason

to believe that McIntire would have mentioned the subpoena at all if Plaintiff had not

sent a second message which specifically and directly raised that question:
      Rudd: I didn't get a copy of a subpoena for your testimony from
      Attorney McLean or Attorney Baar. Did someone subpoena you?
      McIntire: I was subpoenaed by the attorneys representing Ms. Meyers.
McIntire’s has meticulously crafted an affidavit which avoids the use of definite

language when discussing the central issues. For example, McIntire’s affidavit does

not actually state that he was subject to (or served with) a valid subpoena. The sworn

statement only establishes that McIntire conveyed these things to Plaintiff—not that

he was telling the truth.




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    McIntire has offered no evidence that he actually was subject to a subpoena,

properly served with a subpoena, or that the alleged subpoena ever existed. The brief

itself makes stronger claims, but there is no valid evidence to support them:
       At no time was Defendant Lieutenant McIntire involved in any legal
       process against the Plaintiff. (Def. Brief, PageID.201).
       …
       [Corresponding footnote] Defendant Lieutenant McIntire was present in
       November 2015 at a court hearing involving the Plaintiff. However, the
       appearance of Defendant Lieutenant McIntire was because he was
       subpoenaed to appear. Therefore, Defendant Lieutenant McIntire was not
       there on his own volition but rather in accordance with a legal demand to
       be present.
    McIntire’s brief includes no less than five references to the subpoena. However,

no valid support has been offered to establish that this subpoena ever actually existed

and there are numerous reasons to assume otherwise. However, this is factual

dispute and the Court is now considering a Rule 12(b)(6) motion to dismiss. Plaintiff

has plausibly alleged that McIntire willingly played a critical role prior to and during

the criminal contempt proceedings. There is adequate basis for this Court to infer

that McIntire’s actions were motivated, at least in part, by a desire to chill Plaintiff’s

protected activities.

   E. Plaintiff has adequately identified facts and circumstances which
      support a plausible inference of conspiracy.

    In Smith v. Thornburg, 136 F.3d 1070 (6th Cir. 1998) this court held that “Rarely

in a conspiracy case will there be direct evidence of an express agreement among all

the conspirators to conspire, and circumstantial evidence may provide adequate proof

of conspiracy.” Id. at 1090-1091. Adickes v. SH Kress & Co., 398 U.S. 144, 150, 152

(1970) is also instructive. Unlike the present case, the parties had conducted

discovery and developed a factual record before dismissal of the conspiracy count




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prior to dismissal in the district court. On appeal, the United States Supreme Court

reversed this ruling and allowed the controversy to proceed to the jury.
      We now proceed to consider whether the District Court erred in granting
      summary judgment on the conspiracy count. In granting respondent's
      motion, the District Court simply stated that there was "no evidence in the
      complaint or in the affidavits and other papers from which a `reasonably-
      minded person' might draw an inference of conspiracy,"
Id. at 157. The Adickes plaintiff prevailed on appeal by arguing that:
      …although she had no knowledge of an agreement between Kress and the
      police, the sequence of events created a substantial enough possibility of a
      conspiracy to allow her to proceed to trial, especially given the fact that the
      non-circumstantial evidence of the conspiracy could only come from
      adverse witnesses.
Id. at 157 (emphasis added). The Supreme Court agreed and ruled that the petitioner

should be allowed to proceed to trial. The court specifically noted the existence of

“unexplained gaps in the materials submitted by respondent” and found that:
      …we think it would be open to a jury, in light of the sequence that followed,
      to infer from the circumstances that the policeman and a Kress employee
      had a "meeting of the minds" and thus reached an understanding that
      petitioner should be refused service.
Id. at 157. No discovery has occurred in the present case. Nonetheless, Plaintiff has

still offered substantial circumstantial evidence to support the inference of meeting

of the minds. Also, Plaintiff had already identified more than a few “unexplained

gaps” in the “materials” which McIntire has offered (and also the materials which

McIntire has conspicuously not offered.         Here also, Plaintiff has shown that a

“sequence of events created a substantial enough possibility of a conspiracy” to

survive dismissal as a matter of law.




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III.     McIntire is not entitled to immunity.

       Plaintiff is suing McIntire in his personal capacity only.         Plaintiff is not

suggesting liability on the basis of any official action (or discretionary authority which

flows from official capacity). Plaintiff has instead alleged that McIntire’s

“arrangements” with Chief Gale lead to a course of conduct that was intentionally

sequestered from McIntire’s role as the commander of the MSP Rockford post.

McIntire invites some question along these lines by conspicuously qualifying his

statement regarding “minor contact with the Plaintiff.”
         In my capacity as the Rockford Post Commander, I had minor contact with
         the Plaintiff, Daniel Rudd, in 2015.
(McIntire Affidavit, ¶4, emphasis added, PageID.216). While Plaintiff intends to

demonstrate that McIntire had substantial contact with Daniel Rudd in 2015 (just

not in his official capacity), it is not yet time to settle that dispute. On a 12(b)(1)

motion, McIntire cannot establish that he was exercising “discretionary authority” by

offering an affidavit to challenge Plaintiff’s facts:
         “Based on my training and professional law enforcement experience of
         thirty-two years, I did not believe the facts concerning Plaintiff’s complaint
         to the Norton Shores Police Department that were known to me in or
         around September 2015 warranted a full investigation or further
         investigation.”
(Id. ¶7) The foregoing statement is so indefinite that it has little probative value (even

if it is accepted as true). However, it is Plaintiff’s version of the facts which are

favored on the present motion. Plaintiff has claimed that McIntire never intended to

investigate in the first place, because Chief Gale arranged for him to go through the

motions. McIntire was not investigating or actually exercising any discretion at all.




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    Further, Plaintiff’s complaint asserts that McIntire’s misdeeds were intentional:

(1) McIntire understood that Plaintiff’s clearly established constitutional rights had

been and were being violated. (¶106-107); (2) McIntire knew that Plaintiff had only

offered truthful claims in good faith, but set out to injure Plaintiff in order to suppress

his petition activity. (¶108); (3) McIntire’s actions demonstrated a deliberate and

continuing course of retaliatory conduct. (¶110); (4) McIntire colluded with the other

defendants in a concerted effort to overwhelm the court and prevent timely

disposition on the relief which Plaintiff sought from the courts. Plaintiff was deprived

of the opportunity to be heard on his declaratory relief, including an order directing

Norton Shores to remove the LEIN entry which improperly authorized Plaintiff’s

warrantless arrest. Because of these actions, the state court did not enter an order

to remove the improper entry from the LEIN database until February 5, 2016.

    "It has long been recognized that the lawful resort to the courts is part of the First

Amendment right to petition the Government for a redress of grievances." Berryman

v. Rieger, 150 F.3d 561, 567 (6th Cir. 1998). For now, Plaintiff has offered a plausible

basis for the inference that McIntire knew his conduct would obstruct Plaintiff’s

access to relief in the courts and chill his protected activity. If this can be established

further through discovery, qualified immunity will not be available to McIntire. See

Center for Bio-Ethical Reform, Inc. v. City of Springboro, 477 F.3d 807, 825 (6th Cir.

2007). Our courts have consistently held that retaliation “by public officials against

the exercise of First Amendment rights is itself a violation of the First Amendment.”

Zilich v. Longo, 34 F.3d 359, 364 (6th Cir. 1994).           Also, under the standards

established in Adickes, Plaintiff has adequately identified facts to support the

inference of conspiratorial intent. This also precludes a dismissal on the pleadings

on the basis of qualified immunity.


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IV.     McIntire has distorted the nature of Plaintiff’s petitioning activity
        and seriously misrepresented what has been alleged.

      McIntire’s filings are underscored by re-occurring statements which have no

basis in fact and no relevance to the legal questions before this Court.             Although

there has been no direct claim that this suit may be barred by the Rooker Feldman

Doctrine, McIntire has repeatedly asserted innuendo suggesting that this may be one

of those cases. (i.e. jaded pro-se dad is suing in federal court because he didn’t get

equal parenting time from the state courts).2 McIntire introduces his motion to

dismiss with the following statement:
        (¶1) Plaintiff’s claims of federal and state law violations allegedly
        stem from a protracted child custody battle, which apparently had
        proceeded over the course of some years. Plaintiff has sued a variety
        of defendants. Defendant Lieutenant McIntire is a Michigan State
        Police First Lieutenant, who had no role relative to the custody battle.
        (PageID.184, emphasis added)
This is false. No one has alleged that McIntire had some “role relative to the custody

battle.” The civil rights violations alleged by Plaintiff stemmed from the customs,

practices and behaviors of the named defendants—not from any child custody

litigation. McIntire also introduces his brief with a general misrepresentation of what

Plaintiff has alleged to this Court (emphasis added):
        Plaintiff generally alleges that all Defendants violated Plaintiff’s
        rights over several years during various encounters with members of
        the Norton Shores Police Department and city officials regarding the
        Plaintiff’s protracted contested child custody dispute with his ex-wife.
(PageID.193) This appears to suggest that Plaintiff is one of those people who try to

get a leg-up in family court by dragging the police into petty disagreements about

parenting time.      McIntire knows that this is not the case.            None of plaintiff’s

2
  Plaintiff was awarded sole legal and sole physical custody in 2014 and has maintained the same
through at least five motions to change custody. Plaintiff has prevailed on every substantial
custody ruling. There record of evidentiary findings and professional recommendations
unequivocally demonstrates Plaintiff’s good-faith in advocating for his children.

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“encounters” with the City were in regard to a “protracted contested child custody

dispute with his ex-wife.”

      Plaintiff’s 7/20/15 Grievance was clearly focused on unconstitutional policies

and practices by the department—McIntire knew this because he reviewed the

document before having the first of two lengthy phone conversations with Plaintiff.

None of this information suggests that Plaintiff was ever seeking redress of “family

court wrongs.” Next, McIntire targets the emergency assistance which Plaintiff

legitimately sought in 2013.
      As alleged in Plaintiff’s complaint, beginning in 2013, Plaintiff began
      having contact with the Norton Shores Police Department regarding
      Plaintiff’s on-going child custody battle. (¶2, PageID.193, emphasis added))
 Plaintiff has never sought “contact” with the Norton Shores Police Department

regarding an “on-going child custody battle.”     In July of 2013, Plaintiff advised

dispatch that his young children had been missing and endangered for more than 48

hours. Plaintiff offered objective and verifiable evidence which clearly indicated high

risk factors. All of the non-custodial mother’s immediate family members were

equally concerned (¶¶18-21, PageID.5) One of the mother’s family members

accompanied Plaintiff and shared these concerns with a Norton Shores Officer. There

has never been any basis to suggest that Plaintiff was motivated by anything other

than appropriate concern for vulnerable children.

      It is alarming that an officer of McIntire’s rank and experience
    (apparently) cannot distinguish a missing/endangered child report
          from a complaint of parenting time or custody violations.


    It seems more plausible that McIntire subscribes to the same mentality which

Plaintiff challenged in the grievance submitted to Chief Gale in July of 2015.

Contrary to state and federal statutes, some law enforcement agencies routinely



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minimize claims of child abuse, assault, child endangerment, or missing children

after learning that the caller is a divorced or single parent. In these departments,

serious criminal activity and dangerous situations will be treated as inconsequential

because someone has deemed the circumstances to be “domestic” in nature. Official

or unofficial policies of this nature are profoundly unconstitutional 3 and reckless.4

This contradicts public policy considerations and a substantial body of professional

literature and constitutes a reckless violation of the fundamental right to equal

protection under the law. Remarkably, McIntire interposes this distorted viewpoint

once more in the conclusion of his brief (PageID.212):
     Plaintiff’s claims stem from a protracted contested child custody battle.
     None of the violations of Plaintiff’s rights involved [Defendant McIntire].
     Based on the numerous legal bases set forth above, this Court should
     dismiss all claims against Defendant Lieutenant McIntire with prejudice
     and grant such other relief as this Honorable Court deems appropriate.
     In his brief, McIntire does not discuss or acknowledge the relatively

straightforward allegations which center around ¶56 of Plaintiff’s Complaint (i.e.

Gale arranged for McIntire to go through the motions…). In fact, McIntire’s brief

begins to ignore the narrative portion of Plaintiff’s complaint at exactly the point

where it becomes relevant to McIntire. After a citation to ¶53 (Plaintiff meets with

Chief Gale to discuss the 7/20/15 Grievance), McIntire primarily cites to his affidavit

for narrative “facts.” This very conveniently avoids any treatment of ¶53(d) where

Chief Gale offers to arrange for an “independent” investigation by the Michigan State

Police Department. We know that McIntire is aware of ¶56 because a footnote



3 This brief will not address equal protection and procedural due process issues, but notes the
following decision as insightful regarding policies and customs which afford less protection to
domestic violence victims: Watson v. Kansas City, 857 F.2d 690, 695-96 (10th Cir. 1988)
4 FBI specialist asserts heightened risk of harm during abductions by non-custodial parent:

https://leb.fbi.gov/articles/featured-articles/domestic-custodial-motivated-child-abductions

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advises the Court that: “Plaintiff specifically mentions Defendant Lieutenant

McIntire only in paragraphs 13, 56, 97, and 101.” (PageID.22).

     Likewise, McIntire cites the ECF No. for Plaintiff’s 7/20/15 grievance (Ex. A,

ECF No. 1-1) and acknowledges that this was submitted to Chief Gale, but does not

discuss the contents. McIntire then laments the difficulty felt by “all defendants” as

they allegedly struggle to infer meaning from Plaintiff’s claims:
      “All the Defendants are left to guess, or try to discover from Plaintiff’s
      intermingled general allegations, what each of them allegedly did wrong.”.
(¶1, PageID.197) Plaintiff is frustrated that McIntire has essentially ignored the

critical portions of Plaintiff’s complaint but fixated his attention on a few scattered

indications that child custody proceedings were pending. In elevating this ancillary

fact to primary importance, McIntire finds it very easy to suggest inferences.

      But these inferences are not just suggested as arguments or an expression of

McIntire’s beliefs about Plaintiff’s motivation. McIntire asserts that these claims are

drawn from what Plaintiff has alleged (e.g. “As alleged in Plaintiff’s complaint…” &

“Plaintiff generally alleges that…” PageID.193) When considering a 12(b)(6) motion

to dismiss, it is critical for the Court to have an accurate understanding of what has

been alleged. Accordingly, these false representations are more egregious.




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V.     McIntire’s affidavit precludes a 12(b)(6) dismissal for failure to state
       a claim.

     McIntire has attached freshly minted “evidence” in the form of an affidavit (ECF

No. 24-1), relied heavily upon it, yet seeks to avoid the Rule 56 framework:
       “Defendant’s affidavit of facts is provided consistent with LCR 7.1(b) as the
       Plaintiff’s statement of facts in the Complaint was not complete and only
       alluded to the involvement of Defendant Lieutenant McIntire. The
       clarifying facts presented in the affidavit should not convert the Fed. R.
       Civ. P. 12(b)(6), failure to state a claim argument, portion of the motion
       into a motion for summary judgement, as this case can be dismissed wholly
       based on the pleadings, and the affidavit supports the other bases for
       dismissal. (Def. Brief, Fn. PageID.194).
     However, the claims and inferences averred by McIntire do not serve to clarify or

complete what Plaintiff has alleged and do not offer a greater level of detail. In

describing his communications with Plaintiff, McIntire omits substantial details in

order to portray a version of the story where he had only “minor contact” with

Plaintiff. Details regarding McIntire’s communications with the other defendants are

excluded entirely.    The net result is a loss of details.      This does not fit the

requirements for exhibits in a Rule 12(b)(6) motion to dismiss:
       …a court may consider exhibits attached to the complaint, public records,
       items appearing in the record of the case, and exhibits attached to
       defendant's motion to dismiss, so long as they are referred to in the
       complaint and are central to the claims contained therein, without
       converting the motion to one for summary judgment. Gavitt v. Born, 835
       F.3d 623 (6th Cir. 2016) at 640 (internal cites omitted, emphasis added).
     McIntire’s affidavit falls outside the guidelines in every respect. It wasn’t a

matter of record at all until it was conjured forth as an inferior substitute for law

enforcement records which might be probative if McIntire had not destroyed them or

taken steps to ensure they were never created. Relying only upon itself for

authentication, this affidavit is not a suitable substitute for what is contemplated by

the authority cited above. Even if it were attached to a Rule 56 motion, the probative



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value would be diminished by the inclusion of inadmissible hearsay and the

intentional omission of material facts.

      As it pertains to the 12(b)(6) motion to dismiss, McIntire has ventured well

outside of pleadings in order to assert factual challenges. Rule 12(b) supporting

exhibits should serve to “verify the complaint” and should “not rebut, challenge, or

contradict anything in the plaintiffs' complaint.” Song v. City of Elyria, 985 F.2d 840,

842 (6th Cir. 1993). This alone is reason enough to deny McIntire’s motion to dismiss

for failure to state a claim.

VI.     Plaintiff has adequately stated plausible state law claims.

      Plaintiff incorporates the previous arguments regarding the federal claims and

asserts that the state law claims have been adequately established by the same

narrative portions of Plaintiff’s complaint. Plaintiff also asserts that pleading

deficiencies identified by this Court can be promptly resolved in a first amended

complaint. Many of the challenges asserted by McIntire turn upon McIntire’s

awareness and motivations.            Accepting Plaintiff’s allegations as true, McIntire

corruptly and deliberately abused his position of authority, engaged in a calculated

scheme to deceive an honest citizen (extreme and outrageous), and then destroyed

public records to conceal illegal and unconscionable actions by others who are also in

a position of public trust. 5 These claims involve a number of lawyers and law

enforcement officers who deliberately abused the legal system by asserting wildly

frivolous claims in order to accomplish collateral and corrupt objectives (abuse of

process). In addition to Plaintiff’s injuries, abuses of this nature tend to prejudice the

most vulnerable litigants who face unwarranted skepticism when they truly need


5Plaintiff’s first amended complaint will strictly assert intentional acts in place of gross
negligence.

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protection from the courts (recklessness). Collectively, these claims do provide a

plausible basis for the state law claims. If proven, a jury could reasonably find the

alleged conduct to be “so outrageous in character, and so extreme in degree, to go

beyond all bounds of decency, and be regarded as atrocious and utterly intolerable in

a civilized community.” Roberts v Auto-Owners, 374 N.W.2d 905, 908-09 (Mich. 1985).

VII.   Plaintiff’s claims are not time-barred.

    Plaintiff agrees with Defendant McIntire that the conspiracy claims take on the

limitations period for the underlying wrong which was the object of the conspiracy.

Plaintiff also agrees that the applicable statute of limitations is two years for

malicious prosecution and three years for the other federal claims.        However,

Defendant incorrectly concludes that, “Any alleged conspiracy to commit malicious

prosecution that occurred before February 4, 2016 is barred by Michigan’s statute of

limitations.” Under the rule established in Heck v. Humphrey, 512 U.S. 477 (1994), a

claim for malicious prosecution is not cognizable until a favorable termination of

those proceedings occurs. This issue is succinctly explained in King v. Harwood, 852

F.3d 568 (6th Cir. 2017), “In short, under Heck, a malicious prosecution claim is not

available before the favorable termination of criminal proceedings, nor does the

limitations period for such a claim begin until the favorable termination of criminal

proceedings.” Id. at 579. Therefore, the two-year period began to accrue when the

criminal contempt proceedings were terminated in Plaintiff’s favor on 2/4/16. These

claims are not time-barred. It is undisputed that all remaining claims are based on

circumstances which occurred after February 5, 2015, so the three-year limitations

period has no effect on the viability of any claim against McIntire.




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                               Conclusion and Relief:

    Plaintiff has adequately met the requirements Rule 8(a)(2) which requires a

“short and plain statement of the claim showing that the pleader is entitled to relief.”

Plaintiff has asserted sufficient factual matter to “state a claim to relief that is

plausible on its face.” Ashcroft. It is reasonable to believe that discovery will produce

probative evidence and move this case toward a just resolution. If the present motion

is converted to the Rule 56 standard, Plaintiff should be given opportunity to conduct

discovery. Plaintiff has identified a number of factual disputes which currently

preclude dismissal under either standard. Poe v. Haydon, 853 F.2d 418, 425–26 (6th

Cir. 1988). Plaintiff asks this Court to deny McIntire’s motion to dismiss.

Respectfully submitted on 5/31/18

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